Case 1:18-cv-02517-CMA-NRN Document 106 Filed 07/06/20 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-02517-CMA-NRN

   RICHARD REID,

          Plaintiff,

   v.

   ANDRE MATEVOUSIAN, Warden, in his official capacity,
   HUGH HURWITZ, Acting Director of the Bureau of Prisons, in his official capacity,

          Defendants.


                                    JOINT STATUS REPORT


          Pursuant to the Court’s Order dated June 3, 2020, ECF No. 105, the parties

   respectfully advise the Court that they have diligently worked toward completing

   settlement, but that they remain in the final stages of completing the settlement process.

   In particular, undersigned counsel for Mr. Reid was able to speak with his client by

   telephone last week, and counsel for both parties will discuss the next and final steps of

   the settlement process this week.

          The parties will file a joint status report notifying the Court when settlement is

   completed.
Case 1:18-cv-02517-CMA-NRN Document 106 Filed 07/06/20 USDC Colorado Page 2 of 3




         Respectfully submitted on July 6, 2020.

    KILLMER LANE & NEWMAN, LLP                    JASON R. DUNN
                                                  UNITED STATES ATTORNEY

    /s/ Reid R. Allison                           /s/ Susan Prose
    David A. Lane                                 Susan Prose
    Reid R. Allison                               Assistant United States Attorney
    1543 Champa Street, Suite 400                 1801 California St., Suite 1600
    Denver, CO 80202                              Denver, Colorado 80202
    Tel: 303-571-1000; Fax: 303-571-1001          Tel: (303) 454-0100; Fax: (303) 454-0411
    Email: rallison@kln-law.com                   Email: susan.prose@usdoj.gov
    Attorneys for Plaintiff                       Attorneys for Defendants




                                              2
Case 1:18-cv-02517-CMA-NRN Document 106 Filed 07/06/20 USDC Colorado Page 3 of 3




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on July 6, 2020, I electronically filed the foregoing with the
   Clerk of Court using the ECF system, which will send notification of such filing to the
   following:

          Susan Prose



                                                s/ Reid R. Allison
                                                Reid R. Allison




                                                   3
